     Case 3:17-cv-00072-NKM-JCH Document 817-3 Filed 08/04/20 Page 1 of 4 Pageid#:
                                      12313
                                                                               Page 1
·1
·2· ·UNITED STATES DISTRICT COURT
·3· ·FOR THE WESTERN DISTRICT OF VIRGINIA
·4· ·CHARLOTTESVILLE DIVISION
·5· ·------------------------------x
·6· ·ELIZABETH SINES, et al.,
·7· · · · · · · · · · Plaintiffs,· ·Civil Action No.
·8· · · · · · v.· · · · · · · · · · 3:17-cv-00072-NKM
·9· ·JASON KESSLER, et al.,
10· · · · · · · · · · Defendants.
11· ·------------------------------x
12
13
14
15· · · ·STATEMENT RE NON-APPEARANCE OF WES BELLAMY
16· · · · · · · · · · ·July 21, 2020
17
18
19
20
21
22
23
24· ·Reported by:· BONNIE PRUSZYNSKI, RMR, RPR, CLR
25· ·JOB NO. 182023


                        TSG Reporting - Worldwide· · 877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 817-3 Filed 08/04/20 Page 2 of 4 Pageid#:
                                      12314
                                                                               Page 2
·1
·2· · REMOTE APPEARANCES:
·3
·4· ·COOLEY
·5· ·Attorneys for Plaintiffs
·6· · · · ·55 Hudson Yards
·7· · · · ·New York, New York 10001
·8· ·BY:· ·DANIEL ROY, III, ESQ.
·9· · · · ·ALAN LEVINE, ESQ.
10
11· ·LAW OFFICES OF JAMES E. KOLENICH
12· ·On behalf of the Defendants, Matthew D. Parrott,
13· · ·Jason Kessler, Nathan Damigo, Identity Evropa and
14· · ·the Traditionalist Worker Party
15· · · · · · 9435 Waterstone Boulevard
16· · · · · · Cincinnati, Ohio 45249
17· ·BY:· JAMES KOLENICH, ESQ.
18
19· ·DUANE, HAUCK, DAVIS, GRAVATT & CAMPBELL
20· ·Attorneys for Defendant James Alex Fields, Jr.
21· · · · · · 100 West Franklin Street
22· · · · · · Richmond, Virginia· 23220
23· ·BY:· DAVID CAMPBELL, ESQUIRE
24
25


                        TSG Reporting - Worldwide· · 877-702-9580
                                                                                        YVer1f
     Case 3:17-cv-00072-NKM-JCH Document 817-3 Filed 08/04/20 Page 3 of 4 Pageid#:
                                      12315
                                                                               Page 3
·1· · · · · · · · ·Statement
·2· · · · ·MR. KOLENICH:· Good morning
·3· ·everyone, this is Jim Kolenich.· I'm the
·4· ·attorney who subpoenaed today's witness,
·5· ·Mr. Wes Bellamy.· Mr. Bellamy was· · · · · 10:07
·6· ·properly served and I did send follow up
·7· ·attempts at communication to the address
·8· ·he was personally served at.· We do not
·9· ·have a good means of communicating with
10· ·him this morning.· He is not present and· ·10:07
11· ·defendants reserve all rights.
12· · · · ·We can go off the record.
13· · · · · · · · · · oOo
14
15
16
17
18
19
20
21
22
23
24
25


                        TSG Reporting - Worldwide· · 877-702-9580
                                                                                        YVer1f
     Case 3:17-cv-00072-NKM-JCH Document 817-3 Filed 08/04/20 Page 4 of 4 Pageid#:
                                      12316
                                                                               Page 4
·1
·2· · · · · · · · ·C E R T I F I C A T E
·3· ·STATE OF NEW YORK· · ·)
·4· · · · · · · · · · · · ·: SS.
·5· ·COUNTY OF NEW YORK· · )
·6
·7
·8· · · · · · · · ·I, BONNIE PRUSZYNSKI, a Notary
·9· · · · · · Public with and for the State of New York,
10· · · · · · do hereby certify:
11· · · · · · · · That I reported stenographically the
12· · · · · ·proceedings in the above-referenced matter
13· · · · · ·that the transcript herein is a full and
14· · · · · ·complete record.
15· · · · · · · · ·I further certify that I am not
16· · · · · ·related to any of the parties to this action
17· · · · · ·by blood or marriage, and that I am in no
18· · · · · ·way interested in the outcome of this
19· · · · · ·matter.
20· · · · · · · · IN WITNESS WHEREOF, I have hereunto
21· · · · · ·set my hand this 27th· of July, 2020.
22
23· · · · · · · · · · · · · · ________________________
24· · · · · · · · · · · · · · Bonnie Pruszynski
25


                        TSG Reporting - Worldwide· · 877-702-9580
